      2:17-cv-13391-GCS-RSW    Doc # 10   Filed 02/06/18   Pg 1 of 3   Pg ID 84




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

DUSHION DENNIS,

                  Plaintiff,
                                            CASE NO. 17-13391
vs.                                         HON. GEORGE CARAM STEEH

ALLSTATE PROPERTY AND
CASUALTY INSURANCE COMPANY,

              Defendant.
_______________________________/

        ORDER GRANTING PETITIONER ZMC PHARMACY, LLC’S
                MOTION TO INTERVENE (DOC. 8)
       This matter has come before the Court on proposed intervening

plaintiff ZMC Pharmacy, LLC’s motion to intervene. This action arises out of

payment of medical benefits following an automobile accident. The

Michigan Assigned Claims Facility assigned plaintiff Dushion Dennis’ claim

for personal injury protection benefits to defendant Allstate Property and

Casualty Insurance Company. On September 22, 2017, Dennis filed the

instant civil action to collect unpaid monies in Wayne County Circuit Court.

ZMC Pharmacy pleads that it provided pharmaceutical products to Dennis

pursuant to the Michigan No-Fault Act and seeks reimbursement for this

care. Dennis purportedly concurs in ZMC Pharmacy’s motion. Allstate did

not respond to ZMC Pharmacy’s request for concurrence.

                                      -1-
     2:17-cv-13391-GCS-RSW      Doc # 10   Filed 02/06/18   Pg 2 of 3   Pg ID 85




      Federal Rule of Civil Procedure 24(a) provides that upon timely

application, anyone shall be permitted to intervene in an action if it satisfies

the following factors: (1) timeliness of the application to intervene, (2) the

applicant’s substantial legal interest in the case, (3) the impairment of the

applicant’s ability to protect that interest in the absence of intervention, and

(4) inadequate representation of that interest by parties already before the

court. Michigan State v. Miller, 103 F.3d 1240, 1245 (6th Cir. 1997).

      The Court agrees that ZMC Pharmacy has satisfied the requirements

of Rule 24(a) and should be permitted to intervene in this case. The lawsuit

is in the early stages of discovery. ZMC Pharmacy has an interest in the

payment of benefits and its ability to protect this interest will be impaired if it

is not included in the litigation. Finally, although Dennis seeks the same

outcome, it may not make all of the prospective intervenor’s arguments.

Miller, 103 F.3d at 1247.

      For the reasons stated above, ZMC Pharmacy’s motion is

GRANTED.

      IT IS SO ORDERED.

Dated: February 6, 2018

                                      s/George Caram Steeh
                                      GEORGE CARAM STEEH
                                      UNITED STATES DISTRICT JUDGE


                                       -2-
2:17-cv-13391-GCS-RSW       Doc # 10     Filed 02/06/18      Pg 3 of 3   Pg ID 86




                         CERTIFICATE OF SERVICE

          Copies of this Order were served upon attorneys of record on
              February 6, 2018, by electronic and/or ordinary mail.

                             s/Marcia Beauchemin
                                 Deputy Clerk




                                     -3-
